5/3/2019                                                        Missouri Western Civil Cover Sheet

  JS 44 (Rev 09/10)


                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF MISSOURI
                                                         CIVIL COVER SHEET
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the Western District of Missouri.

  The completed cover sheet must be saved as a pdf document and filed as an attachment to the Complaint
  or Notice of Removal.

  Plaintiff(s):                                                             Defendant(s):
  First Listed Plaintiff:                                                   First Listed Defendant:
  A. P. ;                                                                   William Jewell College ;
  County of Residence: Jackson County                                       County of Residence: Clay County



  County Where Claim For Relief Arose: Clay County

  Plaintiff's Attorney(s):                                                  Defendant's Attorney(s):
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  Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

  Citizenship of Principal Parties (Diversity Cases Only)
       Plaintiff: N/A
       Defendant: N/A

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5/3/2019                                                                        Missouri Western Civil Cover Sheet

  Origin: 1. Original Proceeding

  Nature of Suit: 448 Education (e.g., IDEA)
  Cause of Action: 20 U.S.C. 1681, et seq.
  Requested in Complaint
       Class Action: Not filed as a Class Action
       Monetary Demand (in Thousands): 75,000.00
       Jury Demand: Yes
       Related Cases: Is NOT a refiling of a previously dismissed action



  Signature: /s/ Brette S. Hart

  Date: 05/03/19
           If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the updated
           JS44. Once corrected, print this form, sign and date it, and submit it with your new civil action.




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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

A.P.,

                 Plaintiff,

vs.                                                                   Civ. No.

WILLIAM JEWELL COLLEGE,
     Serve President:
     Dr. Elizabeth MacLeod Walls
     Office of the President
     Curry Hall
     500 William Jewell College Dr.
     Liberty, Missouri 64068

                 Defendant.

                              COMPLAINT AND JURY DEMAND

        Plaintiff, A.P., by and through her undersigned attorneys, Harris and Hart, LLC, states and

alleges the following as her Complaint against Defendant William Jewell College.

                                         INTRODUCTION

        1.       This is a civil rights and negligence case brought by a former William Jewell

College student, Plaintiff, who was raped by Z.P., a former William Jewell College (hereinafter

“WJC”) student and athlete, in her on-campus student housing residence hall.

        2.       Prior to this rape, Defendant WJC had actual knowledge of Z.P.’s prior acts of

sexual harassment and acted with deliberate indifference to this known harassment and inherent

risk presented Plaintiff and other females on campus.

                                          JURISDICTION

        3.       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§

1331 and 1343 because this litigation involves matters of federal law including claims made under

Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681, et seq.

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       4.         This Court also has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367.

       5.         WJC is located in the Western District of Missouri, and the relevant facts occurred

in the Western District of Missouri, thus venue in this Court is proper under 28 U.S.C. § 1931(b).

                                                PARTIES

       6.         Plaintiff, is a citizen and resident of the State of Missouri, and at all times relevant

to the misconduct by Defendant and Z.P., she was a student at WJC and resident of an on-campus

residence hall.

       7.         Defendant WJC is a private, for-profit, four-year college located in Liberty,

Missouri, organized and existing pursuant to the laws of the State of Missouri and located within

the Western District of Missouri. At all times relevant to this Complaint, Defendant WJC was an

educational institution within the meaning of Title IX pursuant to section 20 U.S.C. § 1681(c),

and was a recipient of federal funds within the meaning of Title IX.

       8.         At all times relevant hereto, individuals employed by Defendant were acting as

employees, agents, and/or servants of Defendant WJC, such that Defendant WJC is legally liable

and responsible for their negligent acts as below stated.

       9.         At all relevant times herein Z.P. was a student-athlete at WJC and resided in an on-

campus resident hall owned, operated, and under the control of Defendant WJC.

                                     GENERAL ALLEGATIONS

Student Recruitment and Freshman Report to Campus

       10.        During the fall of 2016, Z.P. was recruited by WJC to play football for the 2017-

2018 school year.

       11.        During late 2016 or early 2017, Defendant WJC extended an offer to Z.P. to attend

its college and play football.
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       12.     In response to this offer, in early 2017, Z.P. signed a Letter of Intent to play football

for Defendant WJC.

       13.     Upon information and belief, sometime in the fall/winter of 2016 or first part of

2017, Z.P. committed an act of a sexual nature on his high school campus in Texas resulting in

Z.P. being barred from his high school campus and ordered to complete his senior year at an

alternative school.

       14.     Before Z.P. reported to the campus of WJC in the late summer of 2017, no one at

WJC in the Admissions Department or other department performed a background check on or

gathered a final copy of the high school file of Z.P.

       15.     Had WJC performed a background check on or gathered a final copy of the high

school file of Z.P., this would have shown that Z.P. committed a sexual act sufficient to violate his

high school’s policies resulting in his removal from his high school campus.

       16.     Before the start of the 2017-2018 school year, Z.P., a freshman member of the WJC

football team, reported to the WJC Campus to participate in early training/practice sessions with

other members of the WJC football team.

       17.     Z.P. was assigned by WJC to live on the second floor of Browning Hall, a co-ed

dormitory residence hall owned, controlled, and operated by WJC.

       18.     On or about August 19, 2017, Plaintiff reported as an incoming freshman to the

WJC Campus. Plaintiff was assigned by WJC to live on the third floor of Browning Hall

dormitory.

William Jewell College Provides “Support” and “Assurances” to Incoming Freshman

       19.     During the 2017 Freshman Orientation, members of WJC’s administration and/or

student ambassadors presented various presentations to the incoming freshmen.



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        20.    Topics discussed within these presentations included, but were not limited to:

diversity and inclusion; sexual harassment/assault; anti-harassment; alcohol; Title IX rules,

regulations, and compliance; and WJC Policies and Procedures.

        21.    Incoming freshman were also required to watch at least two videos: one discussing

obtaining consent before engaging in any sexual act with another individual (demonstrated by a

cartoon video where offering tea is used in place of requesting to engage in sex or a sexual act)

and the other describing Defendant WJC’s knock and check policy (such videos which were

approved by WJC).

        22.    One purpose of these presentations was to provide assurances to incoming freshman

that WJC was a safe and inclusive campus.

Pertinent Policies and Procedures

        23.    At all pertinent times hereto, Defendant WJC’s Anti-Harassment Policies and

Grievance Procedures provided the following, in pertinent part (highlighted portions delineated by

Plaintiff):




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       24.     Defendant WJC also had a policy in effect at Browning Hall requiring the resident

assistants (“RAs”) to check on the occupants of each dormitory room at or around midnight or

1:00 a.m. each morning to ensure that no individuals were in the rooms who were not authorized

to be within the room. This policy was designed to ensure the safety and security of the WJC

dormitory residents.

       25.     Upon information and belief, the policy of checking each dorm room at or around

midnight or 1:00 a.m. was performed by the RAs for approximately one week after school began

during the fall 2017 semester and thereafter was never again done in Browning Hall prior to

Plaintiff’s rape by Z.P.

Z.P.’s First Reported Incident of Sexual Harassment

       26.     On or before September 11, 2017, Z.P. used his cell phone or other mobile device

to record two students engaged in consensual sexual intercourse. This recording was taken without

the knowledge, consent, or permission of either of the individuals engaged in the act of intercourse.

       27.     Z.P., standing outside the window of a dorm room, peered through a crack in the

blinds and recorded the two individuals engaged in the act of intercourse

       28.     After recording these individuals engaged in sexual intercourse, Z.P. electronically

sent the video to the male participant engaged in the act of sexual intercourse. The male participant

thereafter informed the female victim of the recording and showed her the same.

       29.     Minutes after recording the two individuals having intercourse, Z.P. also sent

and/or showed this recording to numerous players on the WJC football team and other students on

the WJC Campus.

       30.     On information and belief, Z.P. further published the video on a social media

platform, believed to be SnapChat, making the same accessible to and viewed by countless

individuals.
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         31.   Shortly after recording the individuals engaged in sexual intercourse, Z.P. showed

the video to at least one Resident Director (RD) or Resident Advisor (RA) at Browning Hall

dormitory as well as other WJC students present.

         32.   Upon information and belief, each of these RAs or RDs reported this occurrence to

Andrew Pratt, WJC’s Anti-Harassment Coordinator/Title IX Coordinator, and/or other WJC

officials or employees at or near the time they were shown the video.

         33.   Andrew Pratt, along with Ernie Stufflebean, investigated this report, including

arranging for other WJC employees to contact and interview the two individuals depicted in the

recording as well as, it is believed, interviewed Z.P. The case number assigned by WJC to this

incident is 2017-008.

         34.   Z.P., as a result of the sexual harassment recording incident, was not removed from

campus and was not limited in his access to campus facilities. He remained on campus and in

Plaintiff’s dormitory where he would sexually assault and rape Plaintiff approximately three weeks

later.

         35.   The female depicted in the non-consensual videotaping incident was not

interviewed by members of WJC until approximately September 21, 2017, ten days after Z.P.’s

actions.

         36.   On or about October 6, 2017, Andrew Pratt and Ernie Stufflebean submitted a

report documenting the investigation of Case # 2017-008 (non-consensual videotaping incident)

to Anne Dema, Ph.D., Provost of WJC.

         37.   Following her review of the report and evidence accompanying the same, Provost

Dema determined that a preponderance of the evidence supports that Z.P. violated WJC’s Anti-

Harassment Policy in connection with this non-consensual video-recording of sexual activity.



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       38.     On October 17, 2017, approximately eleven days after receiving the report prepared

by Andrew Pratt and Ernie Stufflebean and more than five weeks after Z.P.’s act of harassment

relative to the unauthorized recording, Provost Dema placed Z.P. on full suspension until August

1, 2018. This suspension allowed for the possibility that Z.P. could return as a student to WJC.

Other Incidents of Unwanted Sexual Conduct by Z.P.

       39.     Upon information and belief, following the football season during his senior year

of high school, Z.P. committed an unauthorized sexual act on his high school campus involving

and/or with a female at his high school. He was removed from his regular high school and forced

to complete his high school education in an alternative schooling setting.

       40.     Defendant WJC knew or should have known that Z.P. was placed in an alternative

school setting to complete his high school courses.

       41.     Defendant WJC knew or should have known that Z.P. committed an unauthorized

sexual act on his high school campus so violative of those school safety and conduct procedures

that it required removal from the high school campus for the remainder of his high school year.

       42.     Defendant WJC did not know or did not question the reason for Z.P.’s failure to

complete his high school education within the on-campus high school setting.

       43.     Upon information and belief, another female student at WJC complained to WJC

administrators, employees, mandatory reporters, or others in charge of student safety about

additional violations of the WJC Anti-Harassment Policy committed against her by Z.P. The

complained of acts of unwanted sexual conduct occurred between the time of the non-consensual

recording incident and the rape of Plaintiff.

Other Incidents of Rape at William Jewell College

       44.     According to the Jeanne Clery Disclosure of Campus Security Policy and Campus

Crime Statistics Act, 28 U.S.C. § 1092 et seq., each year, William Jewell College is required to
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publish crime statistics and security information, including reported rapes on campus. The

reported rapes can only be excluded from the publication if, after full investigation by a sworn or

commissioned law enforcement personnel, the sworn or commissioned law enforcement personnel

makes a formal determination that the report is false or baseless.

        45.    According to Defendant WJC’s published 2017 Annual Security and Fire Safety

Report, in the two calendar years preceding Z.P.’s rape of Plaintiff A.P, there were six reported,

on-campus housing rapes at WJC. Two during calendar year 2015 and four during calendar year

2016.

        46.    According to Defendant WJC’s published 2018 Annual Security and Fire Safety

Report, during calendar year 2017 (the year Plaintiff was raped by Z.P.), there were four reported,

on-campus housing rapes at WJC.

        47.    During calendar years 2015, 2016, and 2017, Defendant WJC did not find or

determine that any reported rape was “unfounded.”

        48.    Additionally, during calendar year 2017, Z.P. raped Plaintiff while on campus and,

based on information and belief, sexually harassed or assaulted at least one other female WJC

student.

        49.    Despite knowledge of multiple on-campus reported (and not unfounded) rapes in

2015, 2016, and 2017, Defendant WCJ failed to incorporate and/or enforce security measures to

prevent further on-campus sexual assaults and rapes thus creating a dangerous condition for

females similarly situated as Plaintiff.

Z.P. Rapes A.P

        50.    On or about the late evening hours of September 30, 2017, or very early morning

hours of October 1, 2017, during WJC’s Homecoming weekend, Plaintiff and her roommate were



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outside of their dorm room waiting for a friend to bring them food. Plaintiff and her roommate

had consumed alcohol earlier in the evening.

       51.     Plaintiff saw and recognized Z.P., who resided in the same dormitory. Z.P.

approached and gave Plaintiff a big hug which was unexpected, unwelcomed and not requested by

Plaintiff. Z.P. told Plaintiff and her roommate that he had been drinking that evening and then

entered the dormitory.

       52.     Shortly thereafter, Plaintiff and her roommate entered the dormitory and saw Z.P.

sitting in the lobby on the stairs which blocked Plaintiff and her roommate’s path to their room.

Plaintiff told Z.P. that she and her roommate were going to their room to watch movies while

Plaintiff and her roommate ate their food. Z.P. began following them to their room.

       53.     On the way to Plaintiff’s room, Z.P. grabbed Plaintiff’s buttocks. In response,

Plaintiff told Z.P. to stop touching her and if he was looking for sex then he needed to just go to

his own room because she was not interested in sexual activity with Z.P. Plaintiff’s roommate

witnessed this interaction and Plaintiff’s specific request for Z.P. not to touch her and admonition

regarding sexual activity.

       54.     When the three individuals entered Plaintiff’s dorm room, Z.P. immediately

jumped up and onto Plaintiff’s bunk bed, without being invited to do so, while Plaintiff sat with

her roommate and ate food on the floor. Plaintiff told Z.P. that he was not staying the night, but he

could sit on her bed while she ate and they watched a movie.

       55.     After eating, Plaintiff got onto her bed and wrapped herself tightly in a blanket. At

this time, she was clothed in a bra, underwear, shorts, tank top, and jacket. Z.P. was, at that time,

still sitting on Plaintiff’s bed watching a movie.

       56.     Z.P. grabbed at Plaintiff’s breasts and she told him to stop. Plaintiff’s roommate

witnessed Plaintiff telling Z.P. not to touch or grab her and that she was not interested in having
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sex with him. Plaintiff’s roommate witnessed Plaintiff telling Z.P. that he could stay in the room

to watch the movie but if he wanted any sexual activity he needed to leave because Plaintiff was

not interested in any sexual activity with Z.P.

       57.     While watching the movie, Plaintiff fell asleep.

       58.     At some point in the middle of the night-time hours, Plaintiff woke up on her side

and realized the blanket was unrolled, she was undressed and Z.P. was forcibly having vaginal

intercourse with Plaintiff.

       59.     Plaintiff attempted to shove Z.P. off her but was unsuccessful as she was fading in

and out of consciousness and Z.P. was physically much larger and stronger than Plaintiff.

       60.     Plaintiff came in and out of consciousness multiple times throughout this sexual

assault and every time yelled out “NO! STOP! I DON’T WANT THIS!” and during her last state

of consciousness saw Z.P. using her shirt to wipe semen off himself and Plaintiff.

       61.     During her states of consciousness while the assault was ongoing, Plaintiff tried to

push Z.P. off her and continually told him to stop.

       62.     Plaintiff’s roommate heard Plaintiff yelling “NO! STOP!” at various points during

the night.

       63.     Plaintiff woke up the next morning completely nude lying on the bed. Z.P. had

already left the room by the time Plaintiff woke up for the day, around 8:00 am.

       64.     On October 1, 2017, Plaintiff reported to Liberty Hospital and underwent a sexual

assault forensic examination, otherwise known as a “rape kit”.

       65.     On or about October 4, 2017, Plaintiff reported the rape to the Liberty, Missouri

Police Department.

William Jewell College’s Response to the Rape



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       66.     On or about October 2, 2017, Plaintiff emailed two of her professors apologizing

for missing class. In these emails, Plaintiff expressed that she was the victim of a sexual assault

and had to go home to try and gather herself before returning to school

       67.     On or about October 2, 2017, these WJC faculty professors emailed Andrew Pratt

regarding the possible sexual assault by Z.P. against Plaintiff.

       68.     On or about October 4, 2017, Andrew Pratt and Ernie Stufflebean met with Z.P.

and informed Z.P. of the report filed against him. Andrew Pratt further informed Z.P. that he was

being placed on Partial Interim Suspension. One of the terms of this Partial Interim Suspension is

that Z.P. not participate in any WJC sponsored activities. Defendant WJC assigned case number

2017-011 to the rape of Plaintiff.

       69.     Following this meeting, Z.P. left with Mr. Stufflebean, Landon Jones (Campus

Safety Director), and Alan Mulling (Campus Safety Officer). The four individuals went to

Browning Hall to gather Z.P.’s belongings before he was required to leave campus (another term

of his Partial Interim Suspension). Mr. Stufflebean then drove Z.P. to an off-campus apartment

where he would be staying.

       70.     On or about October 4, 2017, Plaintiff received an anonymous, disparaging

“Sarahah” message in response to her reporting Z.P. to campus administrators and police (Sarahah

is an anonymous messaging app on iOS and Android platforms).

       71.     Additionally, during the evening of October 4, 2017, while in Browning Hall,

Plaintiff heard men in her dormitory hallway banging on her door, screaming: “We are going to

do you like [Z.P.] did you!”

       72.     Z.P. violated the terms of his Partial Interim Suspension later in the evening on

October 4, 2017, by attending a WJC sponsored off-campus movie event.



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       73.      On or about October 5, 2017, WJC, after learning of Z.P.’s violation of his Partial

Interim Suspension, placed Z.P. on Full Interim Suspension.

       74.      On or about October 5, 2017, Missy Henry, WJC Title IX Co-Deputy Coordinator,

met with Plaintiff relative to Plaintiff’s concerns over acts of retaliation and harassment on the

evening of October 4, 2017 (the “Sarahah” message and banging/shouting in her dorm hallway).

       75.      On or about October 6, 2017, Mr. Stufflebean picked up Z.P. from the apartment

where he had been staying and brought him to the WJC Campus for a formal interview with Mr.

Pratt and Mr. Stufflebean. Upon information and belief, Z.P. was advised at this meeting that he

had been placed on Full Interim Suspension due to violation of terms of his Partial Interim

Suspension.

       76.      On or about October 9, 2018, Plaintiff reported to Missy Henry that she believed

she heard Z.P. with a known friend of his in the hallway of her dorm on October 8, 2017.

Additionally, Plaintiff reported that Z.P., despite being on Full Interim Suspension, may have been

in one of the classrooms this same day.

       77.      On or about October 12, 2017, Andrew Pratt, Missy Henry, and Ernie Stufflebean,

issued a report following their investigation, finding:

             a. A preponderance of the evidence indicates that Z.P. engaged in vaginal intercourse

                with Plaintiff without her consent.

             b. A preponderance of the evidence further supports that Z.P. groped Plaintiff’s

                buttocks and chest without her consent.

             c. A preponderance of the evidence supports that Z.P. violated the terms of the interim

                partial suspension when he attended a WJC-sponsored movie night.

       78.      On or about October 13, 2017, Z.P. left Liberty, Missouri and, upon information

and belief, returned to his home in Texas.
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       79.      On November 14, 2017, Provost Dema issued a permanent expulsion of Z.P.

following her review of the report prepared by Andrew Pratt and Ernie Stufflebean.

       80.      In addition to expelling Z.P. from WJC, Provost Dema announced a fine of $2,000

on Z.P., as solely determined by WJC, to be paid to WJC. These funds were supposedly to allow

for Plaintiff to receive counseling or support services. However, if Plaintiff wanted to seek mental

health treatment to deal with the ramifications of her rape, she was required to submit a proposal

for treatment which, only if approved by Andrew Pratt, could be paid out of the $2,000 paid by

Z.P. If Mr. Pratt made the determination that the requested treatment was not valid, or from a

provider not approved by Mr. Pratt, the money could not be withdrawn from the $2,000 account

to pay for the requested treatment. If the money went unused for a limited period of time, the

money would revert back to WJC for its own discretionary use.

       81.      On or about November 14, 2017, Plaintiff met with Provost Dema, Andrew Pratt,

and another individual. At this meeting, directed by Mr. Pratt, Plaintiff was informed of WJC’s

decision relative to her report of sexual assault.

       82.      Additionally, Mr. Pratt informed Plaintiff of the available funds and the process for

her use of the same. To use the $2,000 to seek treatment, Plaintiff was required to first seek the

approval of Mr. Pratt and according to Mr. Pratt, WJC would have access to any medical records

generated in connection with Plaintiff’s treatment.

       83.      At the aforementioned meeting with Provost Dema, Andrew Pratt, and another

individual, Plaintiff was also advised that she was not allowed to speak to anyone about the rape

or WJC’s investigation and handling of the rape, as it would be considered retaliation, and grounds

for dismissal from WJC if she spoke to anyone other than a therapist or medical professional about

the rape.



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       84.     Following the investigation and expulsion of Z.P., Plaintiff. sought a copy of the

investigative report. Her request was denied by Defendant WJC and she was told she could view

the report only under the supervision of Defendant Andrew Pratt but could not have a copy of the

investigative report to keep for her own records

       85.     Additionally, following WJC’s investigation and decision relative to the subject

rape of Plaintiff, Missy Henry reached out to Plaintiff and urged Plaintiff to meet with WJC’s

Office of Counseling Services.

       86.     On or about October 26, 2017, Plaintiff was contacted by Tricia Hagar, Ph.D.,

Director of Counseling Services at Defendant WJC, inquiring if Plaintiff was interested in an

appointment with a therapist.      Dr. Hagar, via email communications, assisted Plaintiff in

scheduling an appointment with a therapist in the WJC Office of Counseling Services.

       87.     Plaintiff met with a counseling intern on two occasions, ending when the student

advised Plaintiff that she was unable to provide the help Plaintiff required.

       88.     At no point did the one licensed psychologist at the on-campus clinic attempt to

meet with Plaintiff to offer her treatment or aid following the rape by Z.P.

       89.     Plaintiff did request a copy of her records from her visits with the counseling intern

but this request was initially refused, with WJC saying Plaintiff was not entitled to copies of same.

       90.     Eventually, WJC did provide written notes of Plaintiff’s limited visits but advised

that they had destroyed the audio recordings made of Plaintiff’s visits.

       91.     Plaintiff did return to WJC in an attempt to continue her academics. However, as

referenced above, she was repeatedly intimidated by those in a position of authority at WJC.

Defendant WJC’s repeated attempts to discourage Plaintiff from seeking competent mental health

treatment, from seeking counsel, and interacting with her in such a way that her word was not

valuable enough for the administration to meaningfully protect her from the retaliation she endured
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after reporting the rape, became so overwhelming to Plaintiff that she was unable to continue to

education at WJC.

          92.   Additionally, Plaintiff’s rape became known to a large segment of the student

population at Defendant WJC following her report of the same. Public knowledge of this sexual

assault became too much for Plaintiff to endure and, in combination with the aforementioned,

resulted in Plaintiff’s inability to continue her educational pursuits at Defendant WJC.

          93.   Plaintiff. is currently in the process of seeking and obtaining medical and

therapeutic treatment relative to her on-campus rape by Z.P.

                                            COUNT I
                            Violation of Title IX 20 U.S.C. § 1681(a)

          COMES NOW Plaintiff, and for Count I of her Complaint against Defendant William

Jewell College, states and alleges as follows:

          94.   Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

          95.   By approximately September 11, 2017, Defendant WJC had actual knowledge of

and was deliberately indifferent to known sexual harassment and sexual violence by Z.P. against

female students at WJC, including a known and substantial risk that he would sexually harass

and/or assault other female students.

          96.   Defendant WJC had substantial control over both Z.P. and the facility in which his

sexual assault of Plaintiff occurred

          97.   Defendant WJC had the authority to take remedial action to correct the ongoing

sexual harassment, sexual assaults, and sexual discrimination by Z.P., but failed to take any such

action.




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       98.     Defendant WJC’s response, or lack thereof, was clearly unreasonable in light of

known circumstances.

       99.     As a result, Plaintiff was subjected to physical sexual harassment, sexual assault,

and sexual discrimination so severe, pervasive, and objectively offensive that she was denied

access to educational opportunities and benefits.

       100.    Defendant WJC, through its employees, agents, departments, and/or servants, had

actual knowledge of, and was deliberately indifferent to sexual harassment that was so severe,

pervasive, and objectively offensive that it deprived Plaintiff of access to the educational benefits

or opportunities provided by WJC, in violation of Title IX.

       101.    In particular, as a result of the September 30/October 1, 2017, sexual assault and

rape, Plaintiff has suffered significant, severe, and ongoing emotional distress and her studies and

education have suffered substantially. As set forth above, Plaintiff has been forced to withdraw

from her education at WJC.

       102.    Plaintiff has suffered and continues to suffer damages as a result of Defendant

WJC’s violations of Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681(a), as set

forth above.

       WHEREFORE, Plaintiff prays for judgment under Count I against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                           COUNT II
                                          Attorney Fees

       COMES NOW Plaintiff, and for Count II of her Complaint against Defendant William

Jewell College, states and alleges as follows:




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        103.       Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

        104.       Pursuant to 42 U.S.C. § 1988(b), Plaintiff, upon prevailing in her claim against

Defendant WJC for violations of Title IX 20 U.S.C. § 1681(a), seeks reasonable attorney’s fees to

be recovered and collected as part of the costs.

        WHEREFORE, Plaintiff prays for judgment under Count II against Defendant William

Jewell College in an amount that represents a reasonable sum for attorney fees, for her costs herein

incurred, and for all other and further damages as may be appropriate or to which she may be

entitled at law.

                                             COUNT III
                                      Negligent Failure to Protect

        COMES NOW Plaintiff, and for Count III of her Complaint against Defendant William

Jewell College, states and alleges as follows:

        105.       Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

        106.       Defendant WJC knew or should have known of Z.P.’s dangerous propensities

toward females, and particularly toward female students of WJC.

        107.       Defendant WJC had actual knowledge of Z.P’s on-campus sexual harassment of at

least one other female student at WJC before his sexual assault of Plaintiff.

        108.       Based on the foregoing, Defendant WJC knew or should have known that Z.P.

posed a threat to female students on the campus of WJC.

        109.       Defendant WJC had a duty to provide reasonable protection to Plaintiff as a student

assigned to one of WJC’s dormitories.




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       110.    By assuming the duty to perform room checks pursuant to WJC’s policies and

procedures, WJC took charge of its dormitory residents and assumed the duty to protect them from

sexual assault in the dormitories.

       111.    Defendant WJC breached this duty in the following respects:

               a. Negligently and carelessly failing to perform room checks;

               b. Negligently and carelessly failing to perform room checks as required by WJC’s

                   policies and procedures;

               c. Negligently and carelessly failing to remove Z.P. from Browning Hall despite

                   knowledge of his dangerous propensities toward female students of WJC;

               d. Negligently and carelessly failing to remove Z.P. from campus despite

                   knowledge of his dangerous propensities toward female students of WJC;

               e. Negligently and carelessly allowing male students, including Z.P., unimpeded

                   access to the floors and halls occupied by female students in Browning Hall;

               f. Negligently and carelessly failing to lock the doors located at each end of the

                   women’s floor despite having given keys to each resident on the women’s floor

                   and assurances that said doors would be locked after 10:00 p.m. every night;

               g. Negligently and carelessly failing in other particulars presently unknown which

                   are believed will be discovered through discovery in this matter.

       112.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff was sexually assaulted and raped by Z.P.

       113.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff has suffered and continues to suffer significant, severe, and ongoing emotional distress,

pain and suffering, and her studies and education have suffered substantially. As set forth above,

Plaintiff has been forced to withdraw from her education at WJC.
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        114.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff suffered special damages in the form of medical treatment/expenses and will suffer

additional special damages in the future, the amount and extent of which cannot be determined at

this time.

        WHEREFORE, Plaintiff prays for judgment under Count III against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                           COUNT IV
                                        Premises Liability

        COMES NOW Plaintiff, and for Count IV of her Complaint against Defendant William

Jewell College, states and alleges as follows:

        115.    Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

        116.    At all times relevant to this action, Defendant WJC, possessed, owned, and

controlled the school campus, including the dormitory hall where Plaintiff was raped by a fellow

student and resident of the same dormitory, Z.P.

        117.    At all times relevant to this action, Defendant exposed its students to dangerous

conditions on its premises, as more thoroughly set forth below.

        118.    During all times relevant herein and prior to Plaintiff being raped by Z.P.,

Defendant’s premises had an unsafe condition in the form of Z.P., who WJC allowed to be on

campus, despite knowing and / or having reason to believe of Z.P. posed a threat to female students

on the campus of WJC.

        119.    Aside from Z.P. constituting an unsafe condition of the premises, Defendant failed

to maintain adequate monitors, policing, room checks, hallway locks, and maintenance of its

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dormitory halls in a manner which would have prevented its residents from being sexually

assaulted.

        120.    Defendant had a duty to protect its students and residents of its dormitory, including

specifically Plaintiff. from foreseeable injury as a result of the unsafe conditions located upon its

premises.

         121. Defendant failed to protect Plaintiff.

         122. As a result of these unsafe conditions, Plaintiff was raped.

        123.    Defendant had the authority, right and power to control its premises, as well as the

activities of its residents, including Z.P.

        124.    Defendant knew or had reason to know of the propensity or proclivity of Z.P. to

engage in sexual violence and / or sexual misconduct.

        125.    Defendant failed to exercise control or take appropriate action to supervise and

monitor Z.P., and further failed to exercise control, authority, and supervision over its employees

/ RAs tasked with ensuring the safety of its on-campus dormitories, and further failed to maintain

adequate monitors, policing, room checks, hallway locks, and maintenance of its dormitory halls

in a manner which would have prevented its residents from being sexually assaulted.

        126.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff has

suffered and continues to suffer significant, severe, and ongoing emotional distress, pain and

suffering, and her studies and education have suffered substantially. As set forth above, Plaintiff

has been forced to withdraw from her education at WJC. Further, and as a direct and proximate

result of Defendant WJC’s wrongful conduct, Plaintiff has suffered special damages in the form

of medical treatment / expenses, and will suffer additional special damages in the future, the

amount and extent of which cannot be determined at this time.



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       WHEREFORE, Plaintiff prays for judgment under Count IV against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                           COUNT V
                                      Negligent Supervision

       COMES NOW Plaintiff, and for Count V of her Complaint against Defendant William

Jewell Colleges states and alleges as follows,

       127.     Plaintiff hereby incorporates each of the preceding paragraphs as though full set

forth herein.

       128.     By requiring students like Plaintiff to reside in its dormitory halls, by maintaining

RAs and RDs to supervise and care for WJC’s student dormitory residents, by implementing

policies and procedures, including the knock and check room policy, and through other acts and

representations, Defendant had and / or assumed a duty to protect students studying and living on

its campus.

       129.     At all times relevant herein, Defendant employed / supervised its RAs who were

responsible for the supervision and care of WJC student dormitory residents.

       130.     At all times relevant herein, Defendant owned, operated and / or controlled the WJC

campus and its dormitories, including Browning Hall.

       131.     At all times relevant herein, Defendant and its RAs, RDs, employees, and

administrators were charged with and assumed the authority and duty to control, direct, and

supervise its dormitory residents, including Z.P.

       132.     As described above, by assuming the duty to perform room checks through its RAs

and other employees pursuant to WJC’s policies and procedures, WJC took charge of its dormitory

residents and assumed the duty to protect them from sexual assault in the dormitories.

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       133.    Defendant and its RAs, employees, and administrators knew or should have known

of its resident, Z.P.’s, previous sexual misconduct within the boundaries and under their

supervision, and that future harm was certain or substantially certain to result without proper

supervision.

       134.    Defendant failed to enforce its own policies with regard to supervision of its

dormitory residents, despite knowledge of the risk inherent in failing to do so.

       135.    Defendant breached its duty of care to its student and dormitory resident, Plaintiff.

       136.    Defendant breached its duty of care by failing to supervise its dormitory resident,

Z.P., as well as its employees, RAs, RDs, and administrators tasked with supervising the

dormitories.

       137.    Defendant disregarded the known risk of sexual abuse and violence in its

dormitories.

       138.    Defendant’s actions / inactions caused injury and damages to Plaintiff.

       139.    As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff has

suffered and continues to suffer significant, severe, and ongoing emotional distress, pain and

suffering, and her studies and education have suffered substantially. As set forth above, Plaintiff

has been forced to withdraw from her education at WJC. Further, and as a direct and proximate

result of Defendant WJC’s wrongful conduct, Plaintiff has suffered special damages in the form

of medical treatment / expenses, and will suffer additional special damages in the future, the

amount and extent of which cannot be determined at this time.

       WHEREFORE, Plaintiff prays for judgment under Count V against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.



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                                          COUNT VI
                                    Administrative Negligence

       COMES NOW Plaintiff, and for Count VI of her Complaint against Defendant William

Jewell College, states and alleges as follows:

       140.      Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

       141.      As a result of the relationship existing between Defendant WJC and Plaintiff as

described above, Defendant WJC had a duty to exercise and furnish such degree of care as a

reasonably prudent educational institution would have provided to Plaintiff under similar

circumstances.

       142.      Defendant WJC failed to use that degree of care ordinarily used under similar

circumstances by educational institutions and otherwise breached its duty of care and was

negligence in the following particulars:

                 a. Negligently and carelessly failing to promulgate adequate and necessary

                    policies and/or procedures regarding the safety of students in on-campus

                    housing facilities;

                 b. Negligently and carelessly failing to promulgate adequate and necessary

                    policies and/or procedures regarding the safety of female students living in on-

                    campus, co-ed dormitories;

                 c. Negligently and carelessly failing to promulgate adequate and necessary

                    policies and/or procedures regarding the protection of students from sexual

                    harassment and/or sexual assault;




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    d. Negligently and carelessly failing to provide adequate and necessary training

       and instruction to its employees, agents, and/or servants regarding the safety of

       students in on-campus housing facilities;

    e. Negligently and carelessly failing to provide adequate and necessary training

       and instruction to its employees, agents, and/or servants regarding the safety of

       female students living in on-campus, co-ed dormitories;

    f. Negligently and carelessly failing to provide adequate and necessary training

       and instruction to its employees, agents, and/or servants regarding the

       protection of students from sexual harassment and/or sexual assault;

    g. Negligently and carelessly failing to provide adequate and necessary training

       and instruction to its employees, agents, and/or servants regarding recognizing

       and identifying sexual harassment and/or sexual assault and how to properly

       respond to and report the same;

    h. Negligently and carelessly failing to enforce and comply with its policies and/or

       procedures regarding the safety of students in on-campus housing facilities;

    i. Negligently and carelessly failing to enforce and comply with its policies and/or

       procedures regarding the safety of female students living in on-campus, co-ed

       dormitories;

    j. Negligently and carelessly failing to enforce and comply with its policies and/or

       procedures regarding the protection of students from sexual harassment and/or

       sexual assault;

    k. Negligently and carelessly failing to adhere to the requisite standards of due

       care and skill required and observed by similarly situated educational

       institutions in further particulars presently unknown to Plaintiff.
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        143.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff was sexually assaulted and raped by Z.P.

        144.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff has suffered and continues to suffer significant, severe, and ongoing emotional distress,

pain and suffering, and her studies and education have suffered substantially. As set forth above,

Plaintiff has been forced to withdraw from her education at WJC.

        145.    As a direct and proximate result of Defendant WJC’s negligence as stated herein,

Plaintiff suffered special damages in the form of medical treatment/expenses and will suffer

additional special damages in the future, the amount and extent of which cannot be determined at

this time.

        WHEREFORE, Plaintiff prays for judgment under Count VI against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                          COUNT VII
                                    Breach of Fiduciary Duty

        COMES NOW Plaintiff, and for Count VII of her Complaint against Defendant William

Jewell College, states and alleges as follows:

        146.    Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

        147.    At all times alleged herein, Plaintiff was a student and resident of Defendant WJC’s

on-campus dormitory, Browning Hall.

        148.    At all times alleged herein, WJC required its freshmen students, including Plaintiff,

to live in its on-campus dormitories.




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       149.    Defendant WJC assigned Plaintiff to Browning Hall to reside there while she

remained a full-time student.

       150.    At all times alleged herein, Z.P. was another student assigned by Defendant to

reside in Browning Hall.

       151.    Defendant WJC maintained, ownership, possession, and control over Plaintiff’s

dormitory, and maintained the ability and authority to control and supervise its residents that

resided in its dormitories, including Plaintiff and Z.P.

       152.    While residing in the on-campus dormitories, the dormitory residents, including

Plaintiff, were required to abide by WJC’s rules and regulations for residing in the dormitories.

       153.    As part of its rules and regulations for the control and supervision of its residents,

and as set forth above, WJC instituted a knock and check policy performed by its RAs and/or RDs

to knock and check on each dormitory room and its residents so as to ensure the safety of its

residents.

       154.    Plaintiff, as a female and resident of Browning Hall, put her trust and confidence

in WJC’s policies and procedures, including its knock and check policy, that WJC would abide by

said rules and procedures which it both created and promised to perform, to protect its residents of

its dormitories.

       155.    By requiring its freshmen, such as Z.P. and Plaintiff to reside in its dormitories, in

maintaining ownership, possession, and control over Plaintiff’s dormitory and its residents,

including Plaintiff, by assuming the authority and duty to control, direct, and supervise the conduct

of its residents, and by promising to them that it would enforce its own policies and procedures

expressly designed to ensure the safety of its residents from sexual assault in its dormitories, a

fiduciary relationship existed between Plaintiff and Defendant WJC.



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        156.     As previously described above, by failing to perform or abide by its own rules and

procedures, including its knock and check policy, Defendant breached its fiduciary duty to

Plaintiff.

        157.     As a direct and proximate result of Defendant WJC’s breach of its fiduciary duty

to Plaintiff as stated herein, Plaintiff has suffered and continues to suffer significant, severe, and

ongoing emotional distress, pain and suffering, and her studies and education have suffered

substantially. As set forth above, Plaintiff has been forced to withdraw from her education at WJC.

        158.     Further, as a direct and proximate result of Defendant WJC’s breach of its fiduciary

duty to Plaintiff as stated herein, Plaintiff suffered special damages in the form of medical

treatment/expenses and will suffer additional special damages in the future, the amount and extent

of which cannot be determined at this time.

        WHEREFORE, Plaintiff prays for judgment under Count VII against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                            COUNT VIII
                                          Punitive Damages

        COMES NOW Plaintiff, and for Count VIII of her Complaint against Defendant William

Jewell College, states and alleges as follows:

        159.     Plaintiff hereby incorporates each of the preceding paragraphs as though fully set

forth herein.

        160.     At all times alleged herein, Defendant WJC and Defendant WJC’s employees,

agents, and/or servants acted in a willful, wanton, fraudulent, and/or malicious manner toward

Plaintiff and other similarly situated.




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       161.    At all times alleged herein, Defendant WJC and Defendant WJC’s employees,

agents, and/or servants knew or had reason to know that Z.P. presented a high probability of injury

to additional female students.

       162.    At all times alleged herein, the conduct of Defendant WJC and Defendant WJC’s

employees, agents, and/or servants showed a complete indifference to and conscious disregard for

the safety of Plaintiff and others similarly situated.

       163.    As a result of Defendant WJC’s actions, Plaintiff suffered injuries, including

physical injuries, psychiatric injuries, and financial harm, and will in the future continue to suffer

harm as a result of these actions.

       WHEREFORE, Plaintiff prays for judgment under Count VIII against Defendant William

Jewell College for a sum in excess of $75,000, for her costs herein incurred, and for all other and

further damages as may be appropriate or to which she may be entitled at law.

                                     JURY TRIAL DEMAND

       Plaintiff hereby demands a jury trial.

       WHEREFORE, Plaintiff seeks a judgment against Defendant as follows:

       1.      Injunctive relief requiring WJC to redress its violations of Title IX, including (1)

instituting, with the assistance of outside experts, and enforcing a comprehensive sexual

harassment policy which includes procedures for effective reporting of sexual harassment

incidents, effective and immediate crisis response, and expanded victim assistance and protection;

(2) distributing written policies to all students describing prohibited activities and conduct and the

consequences for violations; (3) adopting a “zero tolerance policy” under which there will be

expedited proceedings and punishment proportional to the offense for violations of sexual

harassment policies; and (4) providing for an annual, independent review by the Provost’s and/or



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President’s office, with the participation of outside reviewers, of compliance with the sexual

harassment and student recruiting policies;

       2.      An award of damages against Defendant for a sum to be determined at trial,

including, without limitation, reimbursement and prepayment of all of Plaintiff’s tuition or related

expenses; payment of Plaintiff’s expenses incurred as a consequence of the sexual assault, as well

as any and all future expenses reasonably expected to be incurred in the future; damages for

deprivation of equal access to the educational benefits and opportunities provided by William

Jewel College; and damages for past, present and future enjoyment of life and pain and suffering

in an amount to be determined by the jury;

       3.      Punitive or exemplary damages;

       4.      Interest on all sums awarded as provided for by law;

       5.      An award of costs and attorney fees (pursuant to 42 U.S.C. § 1988(b)); and

       6.      Any other relief as is proper.



                                                HARRIS AND HART, LLC




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